Case 2:18-cv-06221-JLS-KK Document 63 Filed 03/19/19 Page 1of10 Page ID #:441

 

 

 

 

 

 

 

 

 

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
Michael Eouwene ScoTt CASE NUMBER

21¥-CV-O@AAI-JLS-KK
To be supplied by the Clerk

PLAINTIFF,

 

CIVIL RIGHTS COMPLAINT
f La L : PURSUANT TO (Check one)
aeson Sherif Depts os 42 US.C. § 1983
Carson S DEFENDANT(S). U Bivens v. Six Unknown Agents 403 U.S. 388 (1971)

A. PREVIOUS LAWSUITS Third Amened Compjain+ Cdvty Arial,

 

1, Have you brought any other lawsuits in a federal court while a prisoner: @ Yes ONo

2. [fyour answer to “1.” is yes, how many?

Describe the lawsuit in the space below. (If there is more than one lawsuit, dascribe the add
attached piece of paper using the same outline.)

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CIVIL RIGHTS COMPLAINT

CV-66 (7/97) Page | of 6
Case 2:18-cv-06221-JLS-KK Document 63 Filed 03/19/19 Page 20f10 Page ID #:442

 

 

 

 

 

a. Partias to this previous lawsutt
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Orstcict Court.

    

 

“C. Dockst or ease number__\_¢ \%- CYV-9S \4 £O- DLT cpc)
dg. Name of judge to whom case was assigne¢ Jennifer u- T wyursicd)

 

e. Disposition (For example: Was the case dismissed? If so, what was the basis for dismissal? Was it
appealed? Is it still pending?) Sh \\ Pending
f, Issues raised: Yth Amendment ercessive fierce, Sth Amend Men}
Crve\ and Unusa) punish ment, Z IY 4h Amendment Ave
Oro cess
a .
Approximate date of filing lawsuit: 77 371 x

gq

Approximate date of disposition N/A

az

B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

1. Is there a grievance procedure available a: the institution where the events relating to your current complaint
occurred? Yes ONo :

 

 

 

 

 

2. Have you filed a grievance concerning the facts relating to your current complaint? BAYes ONo
If your answer is no, explain why not
3. Isthe grievance procedure completed? LJ Yes RNo

 

If your answer is no, explain why rot Sent Ao prsen never ot an reply Aack.

 

 

 

 

4. Please attach copies of papers related to the grievance procedure.
C. JURISDICTION

This complaint alleges that the civil rights of plaintiff Michael EvuGene Scolf
(print plaintiffs name)

who presently resides a: Cc c\ fornia men's colony 'EASt

(mailing address or place of continement)

 

ware violated by the actions of the defendant(s) named below, which actions were directed against plaintiff at

Carson , ovary Jail medica)

(instiufioncity where woiduon ocehirred )

  
 
   

 

 

 

 

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on (date or dates) excess \ve Force liberate indi FFerence ? crve\ 290%) PLAISh me n+
(Claim T) (Claun TT) (Claim TT)
NOTE: You need not name more than one defendant or allege more than one claim. If you are naming more than

five (5) defendants, make a Copy of this page to provide the information for additional defendants,

l. Defendant She ov €f Cepuy - John Oce » 7-G-7.. 0725 Hing Off 1Ser

eside forks
(tull name of first defendant) 7 des or works at

CALSEN Sherr Ff Station » BASSE: both AvAjon Bid Carson, CA,

(full address of first defendant)

Shen € Oe At

(detendant's position and tide, 1

     

The defendant is sued in his/her (Check one or both): FAindividual D official Capacity,

Explain how this defendant was acting under color of law:

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hand Coffins me.

 

 

 

 

 

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Defendant OR-AL One m.Jones

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Explain how this defendant was acting under color of law:

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CIVIL RIGHTS COMPLAINT
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CIVIL RIGHTS COMPLA INT
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D. CLAIMS*

CLAIM I
The following civil right has been violated:

Ewst Claim § 3 1Y 4M amendment? eX cessive, force

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Supporting Facts: Include all facts you consider important. State the facts clearly, in your own words, and without
citing legal authority or argument. Be certain you de

DEFENDANT (by name) did to violate your right.

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over By John Ooe Shen fis de outy, For a Misdemeanor
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3) Oeouty Jona Noe and his Oartner
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4) when Oe pty soha Noe ws attemo ting te hand co€
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*If there is more than one claim, describe the

outline.

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additional claim(s) on another attached piece of paper using the same

 

CIVIL RIGHTS COMPLAINT
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Page 5 of 6
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(Date) (Signature of Plaintiff)
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Page 6 of 6
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